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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )             Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )             Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                          )
           Defendants.    )
                          )

    DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 3:
       Declaration of Daniel W. Akins
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO                   Civil Action No. 1:17-CV-01953 RDM
WORDLWIDE, INC.,

Plaintiffs,

                               v.

INTERNATIONAL BROTHERHOOD OF TEAMSTERS;
INTERNATIONAL BROTHERHOOD OF TEAMSTERS,
AIRLINE DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL UNION
NO. 1224,

Defendants.


                              DECLARATION OF DANIEL W. AKINS



    I, Daniel W. Akins, declare that the following is true and correct:

 I. QUALIFICATIONS & ASSIGNMENT

    I am an air transport economist and a founding partner of Flightpath Economics, LCC, an

    aviation consultancy. I have over thirty years of airline consulting experience. During my

    career I have applied economic principles and statistical analysis to various modes of

    transportation using financial and operational data on behalf of airports, airlines, airframe

    manufacturers, labor unions, and other aviation related concerns. Clients have included,

    Continental Airlines, Lufthansa, Air Canada, Southern Air Transport, The Committee of

    Unsecured Creditors of Sun Country Airlines, Boeing, McDonnell Douglas, LSG Skychefs,



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American Express, J.P. Morgan Chase, Cisco Systems, the State of Virginia, the U.S. Postal

Service, a large number of airports and various labor groups. My Curriculum Vitae is

attached as Appendix A.

I was retained by IBT Local 1224 to assist in the evaluation of the merits of Atlas Air statistical

analysis concerning alleged operational impacts resulting from claimed changes in the

behavior of Atlas’s pilots.




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II. SUMMARY OF OPINIONS



  A. The Plaintiffs – Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc., hereafter “the

      Company” or “Atlas” – allege that the Defendant orchestrated changes in pilot behavior

      after the Union issued a Section 6 notice to begin contract negotiations under the

      Railway Labor Act on February 16, 2016. Atlas enlisted an economist, Dr. Darrin Lee of

      Compass Lexecon, in an effort to demonstrate that deteriorating operational

      performance and/or declining customer goodwill were the direct result of changes in

      pilot behavior that were, allegedly, directly tied to concerted efforts by the Defendant

      beginning on or around February 2016. Dr. Lee’s declaration was submitted to the

      court on September 25, 2017, as “Declaration of Darin N. Lee, Ph.D., In Support of

      Plaintiffs’ Motion for a Preliminary Injunction.” Dr. Lee’s analysis is divided in two

      sections. The first section asserts that changes in pilot behavior before and after

      February 16, 2016 are statistically significant. A second section attempts to assess,

      through the use of regression analysis, that changes in the Atlas operation were

      impacted to a statistically significant degree by pilot behavior beginning on or around

      February 16, 2016. With various statistical tools and methods, Dr. Lee asserts that that

      six elements of pilot behavior compromised Atlas’s operation and created a loss of

      performance and customer goodwill. These alleged Union orchestrated behaviors, per

      Dr. Lee’s declaration, are as follows:

        1. An increase in the proportion of pilot sick calls made on short notice;




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               2. An increase in the proportion of Atlas’s pilots reporting themselves as being

                  unable to perform their duties due to fatigue;

               3. A decrease in the willingness by pilots to volunteer for additional flying

                  assignments on their days off (known as “open time”);

               4. A sharp and widespread decline in the willingness of pilots to depart once their

                  aircraft is loaded and ready;

               5. A sharp increase in the frequency that pilots are writing-up mechanical issues on

                  aircraft under their command;

               6. Increased aircraft taxi times. 1



       B.    As will be demonstrated in this declaration, none of Dr. Lee’s conclusions are logically

             sound, statistically valid or meaningfully impactful on the Atlas operation. In every

             major point, Dr. Lee’s analysis is plagued with statistical and logical problems which

             render his results unreliable and his conclusions unreasonable. Specifically, Dr. Lee’s

             analysis and conclusions suffer from the following systemic problems:




               1. Operational Issues at Atlas Predate the Union’s Section 6 Notice. While it is clear

                  that increases in the proportion of pilot short-notice sick calls, fatigue calls, open-

                  time call outs, etc., have occurred over time, none of these changes began to occur



1   Lee at page 4.


                                                                                            Page 4 of 77
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                on or around February 2016. Moreover, the Atlas operation is chronically subject

                to delays, and the proportion of flights subject to delay has been steadily

                increasing since 2013. (Exhibit 1.) In other words, there is no relationship proven

                by Dr. Lee between alleged pilot actions and the company’s poor operational

                performance. Rather, it appears that the operational deterioration at Atlas is a

                function of growth in the operation and a systematic failure to adequately deploy

                appropriate resources to support the operation.




Exhibit 1: The Percentage of Atlas/Polar Flights Arriving Late Has Steadily Increased Since 2013 2




2   Compiled from data provided by Atlas.

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   2. Dr. Lee Ignores the Dramatic Growth and Change of the Atlas Operation. As will

     be demonstrated in this declaration, the combined Atlas operation has grown and

     changed dramatically in recent years. These changes have created challenges for

     the Company. While he points out the dramatic growth in Atlas operations in his

     Declaration, Dr. Lee does not attempt to assess the factors which may explain

     longer term changes in pilot behavior as well as the causes of operational issues

     which were occurring well before February 16, 2016. These include, but are not

     limited to Atlas’s unprecedented growth, the dramatic shift from a primarily non-

     scheduled to a scheduled operation, its changed customer base, and the

     expansion of the complexity of Atlas’s operation over the past several years. Most

     importantly, despite having access to an enormous amount of internal data, in Dr.

     Lee’s analysis of the alleged impacts of such behavior he does not attempt to

     directly link those behavioral changes to changes in the size and nature of the

     operation.




   3. The Alleged Causes Do Not Explain the Effects. Dr. Lee’s statistical exercises are

     designed to establish a causal relationship between Union actions that allegedly

     precipitated pilot actions which, he asserts, then had an effect on the Atlas

     operation and customer goodwill. There are several important links in this

     attenuated causal chain:

      a.    First, Dr. Lee would have to demonstrate that Union communications

            successfully directed or steered pilot behavior.

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      b.    Second, Dr. Lee would need to show conclusively that Union orchestrated

            pilot behavior impacted the Atlas operation in a material way.

      c.    Third, Dr. Lee would need to show that changes in the Atlas operation were

            meaningful, detrimental, and would not have occurred on their own.

     In asserting his major conclusions, at no point does Dr. Lee establish firm causal

     relationships that link alleged Union activity to pilot behavior, or pilot behavior to

     a deterioration in the Atlas operation, or that an allegedly-deteriorating operation

     worked to the detriment of the Company’s customer relationships. Nor does Dr.

     Lee ever attempt to link, other than through assertion, actual change in pilot

     behavior with the operational impacts he claims result from such Union

     orchestration.




   4. Dr. Lee’s Causality Is Asserted, Not Observed. Dr. Lee’s conclusions are circular;

     he does not point to specific and quantifiable pilot actions that would be suitable

     as causal variables in a statistical regression. Instead, Dr. Lee assigns causality by

     using a “dummy variable” as a substitute or proxy for real observations which

     allegedly “cause” operational impacts from Union orchestrated changes in pilot

     behavior such as sick calls, fatigue calls, delayed departures, and the like.

     Although dummy variables are routinely used in statistics and econometrics, by

     their nature they are binary “on/off” switches, and their use in regression is not

     appropriate for variables which are not binary.           For example, the Union



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     communicates with pilots on an ongoing basis and has done so for years; Dr. Lee

     has not established numerically that the Union’s communications increased on or

     around February 2016, or that the content of these communications was

     materially different from prior communications.          Importantly, the dummy

     variables in Dr. Lee’s statistical analyses are only useful in assigning causality to

     specific points in time; these dummy variables do nothing to explain what may

     have been occurring at those points in time. In effect, Dr. Lee submitted analysis

     which does not attempt to directly link pilot behavioral change to any known

     underlying cause, other than an allegation that behavioral changes after February

     2016 were caused by Union orchestration designed to leverage bargaining.




   5. The Effects are Improperly Measured.           Throughout Dr. Lee’s extensive

     declaration, there are very few references to actual “effects” which allegedly

     resulted from pilot behavior on or around February 2016. In the vast majority of

     Dr. Lee’s analysis , he attempts to measure the relationship between a point in

     time (as indicated by a dummy variable) and an observed level of operational

     change that theoretically resulted from changes in pilot behavior – but without

     actually linking the alleged behavior to a tangible, material operational impact.

     For example, in his analysis of the impact of pilot behavioral change on Atlas’s

     operation, Dr. Lee chose to measure “delays” in terms of whether there was a

     change after February 2016 in the share of Atlas flights departing at or prior to the

     estimated departure time. Normally in the airline industry, airlines and customers


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                 alike care more about whether their flights arrive on time.            For air cargo

                 customers, it is simply irrelevant whether a flight departs on or before its

                 estimated departure time. What is important is arrival time. In Dr. Lee’s analysis,

                 a flight which arrives 5 minutes early but left 5 minutes late is considered a

                 “delayed” flight. This assertion defies reason and undermines the validity of his

                 analysis and conclusions.




              6. Lack of Randomness in Binomial Trials Undermines Analysis.                   Dr. Lee

                 misinterprets the results and implications of his binomial trials. A binomial trial is

                 a simple statistical tool which can help to determine whether a series of

                 observations is random or not. However, as with all such statistical tools, a

                 binomial trial requires very specific conditions. These are:

                  a.    There are ‘n’ identical trials

                  b.    Each trial has only two possible outcomes

                  c.    The probabilities of the two outcomes remain constant

                  d.    The trials are independent 3




                 In other words, for a binomial trial to be valid, all else must be equal.

                 Circumstances must be identical across all trials, and the evaluation must be



3   “Introductory Statistics- Fourth Edition,” Prem S. Mann, John Wiley & Sons, 2001. Page 209.

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      conducted during a period in which underlying conditions remain the same. If

      outcomes are affected by changes in underlying conditions, the binomial trial is

      unsound and its results are not reliable. As I will demonstrate in this declaration,

      the combined Atlas operation has grown substantially and changed dramatically

      during the last several years. Obviously, the impact of this extreme growth and

      change has created a playing field tilted by changing conditions where

      precondition (c) to a binomial trial, e.g., “all else being equal” is not the case. In

      these circumstances where conditions are dramatically changing over time, a

      binomial trial is simply not useful in the assessing the significance of changes in

      pilot behavior. Further, Dr. Lee’s interpretation of his binomial trials is flawed. He

      suggests that randomness could not have caused the alleged impacts and that,

      therefore, the pilots must be to blame, without having considered a full range of

      potential causes related to the changes in operations. The logical error is obvious.




    7. Dr. Lee’s Regressions Materially Overstate the Impact of Alleged Pilot Behaviors.

      In addition to the logical errors outlined above, nearly all of Dr. Lee’s regressions

      suffer from a common set of misinterpretations and fatal flaws. These include:

       a.    Overstated causality. Time series regression analysis can be a useful tool

             to analyze potential connections between two sets of observations or

             variables. The results of regression analysis can help understand the

             degree to which variables are connected, or explain changes. The r squared

             value of any regression model indicates the degree to which one

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                       observation explains or causes changes in the other. Low r-square values

                       generally indicate weak relationships between variables.

                 b.    Dr. Lee uses multiple variables in an attempt to assess causality in his

                       regressions.   However, in 8 of his 10 regression analyses, Dr. Lee’s

                       regression outputs demonstrate low aggregate “r square” values. 4 In many

                       cases, these r-square values are less than 50%, indicating that Dr. Lee’s

                       alleged causes – in combination – explain the alleged effects with less

                       accuracy than a coin toss. Moreover, Dr. Lee’s combination of various

                       “causal” factors in these regressions leave substantial doubt about whether

                       pilot behavior, on its own, would have produced a reasonable r-square

                       result. If pilot behavior is truly the reason for some variation in the Atlas

                       operation, he could have shown the relationship on its own, without the

                       additive effect of multiple other variables.

                 c.    Unnecessary complexity.       For most statisticians, simple models are

                       preferred to complex models. One statistics textbook has this to say:

                               “Although the r-square value is one of the most frequently

                               quoted values from a regression analysis, it does have one

                               serious drawback – it can only increase when extra

                               explanatory variables are added to an equation. This can


4   In regression analysis, r-square values measure the extent to which a statistical model fully
    explains a dependent variable. R-square values range from 0 to 1, where a value of 0 indicates
    that 0% of the dependent variable is attributable to the regression model, and a value of 1
    indicates that 100% of the dependent variable is explained by the regression.

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                               lead to ‘fishing expeditions’ where we keep adding variables

                               to an equation, some of which have no conceptual

                               relationship to the response variable, just to inflate the r-

                               square value.” 5

                      Dr. Lee’s regressions appear to have inflated the r-square results by using

                      too many variables which are unreasonably complicated and redundant.

                      The complexity of his models calls into question the validity of his statistical

                      conclusions.

                 d.    Linear redundancy. Another issue affecting Dr. Lee’s statistical analysis

                       involves the utilization of independent variables which are related to each

                       other in a linear fashion. Use of variables which are directly related to each

                       other (e.g., days per week and days per month in the same equation) create

                       feedbacks in the model which can affects results of regression models. This

                       problem is known as “multicollinearity” to statisticians, and appears to be

                       the source of potential errors in Dr. Lee’s regression analyses.




              8. Dr. Lee Misrepresents Observational Facts, and Invents Measurements Which Do

                Not Exist. Dr. Lee’s declaration misrepresents observations by “smoothing” or

                segmenting trends to achieve the desired appearance of events occurring at a




5   “Practical Management Science – Second Edition,” Wayne Winston and S. Christian Albright,
    Duxbury 2001. Page 842.

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          preferred point in time. He frequently distorts his analysis and adjusts the

          reference point for assigning his dummy variables. Even more troubling, he has

          concocted a non-existent measurement to assert his conclusion that pilot

          behavior impacted flight delays. For example, he uses the term “loaded and

          ready” as though it were a known point in time which is recorded by flight

          operations and used in monitoring on-time performance – in fact, it is neither. Dr.

          Lee’s invention of this metric calls into question his objectivity in evaluating the

          operational issues at Atlas.



C.   Dr. Lee’s failure to adequately define a causal relationship between actual observed

     behaviors and actual observed effects is a fatal flaw which undermines his voluminous

     statistical work. His analysis is not an objective analytical exercise to determine the

     causes of deteriorating operational performance.      Instead, Dr. Lee appears to have

     ignored impartial analytical practice and instead manicured the available data, invented

     non-existent measures, and employed a range of statistical analysis geared to support

     his assertion that the sole cause of changes in observed pilot behavior was Union

     orchestration commencing with Section 6 pilot contract negotiations on February 16,

     2016.



D. In simple terms, there is no reason to believe that operational issues at Atlas have been

     caused by pilot behavior or orchestrated in any way by the Union. The company’s poor

     on-time performance predates the Union’s Section 6 notice, as do nearly all other



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            behaviors “identified” by Dr. Lee. Dr. Lee fails to establish a convincing relationship

            between alleged pilot behavior and operational impacts or customer goodwill. In

            reality, the vast majority of operational problems at Atlas are the result of rapid growth,

            a changing route structure and operational profile, combined perhaps with a

            management failure to properly invest in adequate capacity to service customer

            requirements.


       E.   If operational problems resulting from the alleged pilot behavior were indeed as dire

            as claimed by Dr. Lee in his Declaration there would likely have been a downward

            impact on the price of Atlas’s stock after the Section 6 Date in early 2016. However,

            Atlas stock price (AAWW) has increased 76% from February 16, 2016 opening price of

            $36.52 to $64.30 on October 23, 2017. 6




6   Dow Jones, most recent price

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III. DESCRIPTION OF ATLAS AND RELEVANT BACKGROUND



   A. Business Overview. Atlas Air Inc. (“Atlas”) and Polar Air Cargo Worldwide, Inc. (“Polar”)

       are, respectively, wholly and partially-owned subsidiaries of Atlas Air Worldwide, Inc.

       Atlas Air Worldwide, Inc. is a publicly-held, for-profit corporation which trades on the

       NASDAQ Global Select Market under the symbol AAWW. Atlas and Polar provide a

       variety of scheduled and unscheduled air transportation services to customers

       worldwide. Atlas Air Worldwide, Inc. also holds majority economic interests in a wide

       variety of other subsidiaries, including Southern Air, Inc. and Titan Aviation Holdings,

       Inc. Southern Air, Inc. is a separate operating entity, acquired in 2016, which provides

       substantially similar services to Atlas and Polar. Titan provides aircraft on “dry-lease”

       to customers. Although there are substantial economic relationships between the

       various subsidiaries owned by Atlas Air Worldwide, Inc., the current matter deals

       primarily with alleged operational issues at Atlas and Polar. For collective bargaining

       purposes, the pilots of these two air carriers are represented by the International

       Brotherhood of Teamsters, Airline Professionals Association Local Union 1224. Atlas

       pilots and Polar pilots were integrated to a common seniority list in 2011, and the

       operations of Atlas and Polar are now combined. During the last several years, the

       combined Atlas/Polar operation has undergone substantial changes in a very

       compressed time frame. Several of these changes are enumerated in the following

       paragraphs. In my experience, changes of this magnitude, especially in the context of




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            relevant changes to the overall industry, can directly cause substantial stress on the

            pilot workforce and the performance of the combined Atlas operation.



       B.   Atlas Has Grown Extraordinarily Quickly. Over the past six years, the combined Atlas

            operation has grown dramatically, from 2010 to 2016, combined Atlas air operations

            have more than doubled to over 35,000 yearly departures. 7 To put this growth in

            context, Atlas has grown five times faster than any other U.S. long-haul international

            air cargo carrier in the same period. Exhibit 2, below, compares Atlas growth with

            other large U.S.-based international air cargo operators. The extreme growth in Atlas

            annual revenue departures, shown below from data compiled by the US Department

            of Transportation, highlights the growth of both operating entities, independently and

            as a single integrated operating unit.

Exhibit 2: Atlas Grew More Than Five Time Faster Than Any Other Large International Air Cargo
Carrier 2010 to 2016 8




7   US DOT Form 41 Data.
8   US DOT Form 41

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       C.   The Company’s Customer Base Has Changed Dramatically.           In Exhibit 2 of his

            declaration, Dr. Lee highlights the tremendous growth in the Atlas operation and the

            degree to which the combined customer base has changed over time. Dr. Lee’s Exhibit

            2 (reproduced below as Exhibit 3) shows not only extreme growth, but also the rapidly

            changing customer base, which has caused a material shift in the Atlas operation.

            Originally, the combined entity was mostly long-haul unscheduled and dry leased

            international service. After the diversification of the customer base, however, the

            combined Atlas operation became more domestically-oriented and predominantly

            scheduled. These substantial changes have introduced complexity and stress which has

            been compounded by the company’s rapid rate of growth. In his Declaration, Dr. Lee

            comments:



                        “As a result of the rapid growth of the Company’s operations

                        in support of its e-commerce and express package customers,

                        Atlas now operates—broadly speaking—two different

                        “networks”:    the    Company’s     traditional   long-haul,

                        intercontinental network and a shorter-haul domestic

                        network centered around Atlas’s 767s serving Amazon and

                        DHL’s point-to-point and hub operations” 9




9   Lee at page 16.

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Exhibit 3: Number of Atlas Flights by Customer 10




As shown below in Exhibit 4, the share of Atlas’s operations has shifted dramatically, from three-

quarters (75%) unscheduled operation to today where more than half of operations are

scheduled. Also, as Dr. Lee points out in Exhibit 3 of his declaration, Atlas’ share of shorter haul

domestic business has doubled from 20% to near 40% today. All of this underlying dramatic

change and extreme growth would likely strain any business operation, let alone one as complex

and global in scope as Atlas’s air cargo networks. As Dr. Lee points out in his Declaration, “Atlas

operated flights to 427 different airports in over 100 different countries over the last twelve

months” 11 By comparison American Airlines, the largest passenger airline, serves 57 countries.




10   Data as provided by Atlas. This exhibit is substantially identical to Exhibit 2 in the Lee
     Declaration. Here, the aggregate increase from 2010 to 2017 is calculated on a 12 month
     basis ending in August of each year.
11   Lee at page 14.

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Exhibit 4: Share of Atlas Scheduled Service has Doubled Since 2010 and Now Exceeds 50% of
Atlas Operations12




       D. Changes in Crew Efficiency Are Driven By Growth and Customer Mix. As highlighted

            above, the combined Atlas operation has changed dramatically both in terms of overall

            size and customer mix. These changes have, overall, reduced the utilization of aircraft

            and crews. All else equal, shorter average trip lengths produce lower average utilization

            of aircraft and crew. In fact, these trends are readily apparent in the Atlas combined

            operation, as can be easily observed in the following exhibits. Exhibit 5 shows that the

            average trip time at Atlas, and Exhibit 6 shows the monthly average number of block



12   Compiled from Atlas data. Scheduled departures calculated as percentage of DHL and
     Amazon departures to total departures. Note that many other lines of Atlas/Polar flying
     operate on fixed schedules.

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            hours flown per pilot at Atlas. As Exhibit 5 illustrates, the average block hours per flight

            has declined by 22% in six years, from 6.7 block hours per flight to 5.2 block hours per

            flight. These changes result directly from the Company’s change in customer mix and

            route structure. The decline in average block time means that pilots, on average, need

            to fly more trips per month to maintain the level of block hours they achieved in prior

            periods. If the average Atlas pilot flew 70 block hours per month, this drop would

            require each pilot, on average, to fly 3 more trips per month to make up the difference

            in shorter flight time. 13 In effect, the change in operation at Atlas has resulted in a pilot

            workforce which flies fewer block hours.




Exhibit 5: The Average Atlas Flight is Now Much Shorter - Average Block Hours per Flight
Dropped 22% from 2010 to 2016 14




13   Assuming average of 70 hour per pilot per month is 10.5 trips in 2010 (70 / 6.7 = 10.5), in
     2016 the number of trips needed on average to generate 70 hours would be 135 trips (70 /
     5.2 = 13.5).

14   US DOT Form 41

                                                                                            Page 20 of 77
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Exhibit 6: Average Block Hours per Atlas Pilot 15




       E.   Pilots Are Flying Less But Working More. As highlighted in Exhibit 6 above, pilots are

            flying fewer block hours, on average. However, contrary to Dr. Lee’s suggestion, this is

            not an appropriate measurement of pilot workload or stress. To understand why, it is

            especially important to understand the nature of the pilot occupation, especially at

            Atlas. To generate block time at the controls of an aircraft, Atlas pilots are frequently

            required to travel long distances across multiple time zones, be away from home for

            extended durations, and be “on call” for flying assignments which frequently change to

            accommodate all manner of uncontrollable events, including weather, customer-

            directed changes, aircraft availability, and other critical factors which are difficult or

            impossible to predict. It should be noted that none of these factors are generally

            subject to the control of the pilot. All the while, pilots are working at the direction of


15   Based on Atlas data.

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  the company, away from base, and accumulating work-related stress and physical

  discomfort, even though they are not accumulating “block hours” at the controls of an

  aircraft. For Atlas’s pilots, the nature of their Company’s far flung, long-haul, global

  network, exacerbates these issues, as pilot must endure extremely long haul, often

  back of the clock trips, just to reach their assigned flying. Consequently, even though

  Atlas pilots are flying less, they are working more.



    1. Pilots Are Spending More Time Away From Base. As the Atlas operation has

      evolved, pilots have spent more time away from base. As indicated below in Exhibit

      7, in February 2016 the average amount of time each Atlas pilot spent away from

      their base for “days on” (normally scheduled work days) increased from 256 hours

      per month to 294 hours per month in November 2016. This represents an average

      increase of 38 additional hours per pilot per month spent away from base, or the

      equivalent of more than a day and a half less time per month at home. This

      increase in time away from base may be a key to understanding other influences

      that affected changes in pilot behavior. Pilots who are away more would likely

      experience more fatigue and be less able to pick up additional flying (open time)

      during their decreased time off.




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Exhibit 7: Pilot Average Time Away From Base (Days On Duty) 16




                As the Atlas operation has grown and changed, pilot schedules have become less

                efficient. As a consequence, the ratio of block time to time away from base has

                decreased. In effect, Atlas pilots are spending more time away and doing less flying

                through no fault of their own. As Exhibit 8, below, shows, block hours per pilot as

                a portion of time away from base has dropped significantly. Pilots are not in control

                of the schedules offered, and the stress of operational growth and change in the

                network has undermined the Company’s ability to efficiently schedule its hugely

                expanded networks.




16   Data provided by Atlas.

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Exhibit 8: Less Efficient Atlas Flying - A Drop in Average Monthly Block Hours Per Pilot as a Share
of Average Time Away From Base per Pilot 17




              2. Pilots Are Working More on Days Off. To accommodate the growing size and

                complexity of the Atlas operation, pilots have increasingly agreed to work during

                their time off. Shown in Exhibit 9 below are several measurements of pilot

                utilization on days off, including credit for flight time, deadheading (transportation

                time to and from revenue flying), training time, time away from base (TAFB),

                extended duty on days off, and – for a baseline reference – the combined index of

                Atlas departures. These measures are indexed to January 2011 and show that Atlas

                dramatically increased usage of pilot time off, at a level that vastly exceeded

                growth in the actual underlying operation.       These trends began in 2014, sank



17   Data provided by Atlas.

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                briefly in 2016, and continued at an elevated and unprecedented rate into 2017.

                The increased utilization of pilots on days off indicates that Atlas was understaffed

                and needed pilots to work more on days off to accommodate the schedule

                inefficiency inherent in Atlas’ operation and crew scheduling practices.

                Importantly, these increases in utilization exceed increases in flight operations,

                strongly suggesting that Atlas encountered issues in adequately staffing flights.



Exhibit 9: Pilots Are Working on More of Their Days Off Relative to the Size of the Operation 18




       F.   Industry-Wide, There Aren’t Enough Pilots.         The extreme growth and changing

            customer base of the combined Atlas operation is occurring in an unprecedented

            period of constrained pilot supply. Simply put, U.S. air carriers are struggling to recruit


18   Compiled from Atlas payroll data.

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            and retain sufficient numbers of qualified professional pilots. This is not an isolated

            problem; rather, it is widespread in extent and causing major changes throughout the

            U.S. air transportation industry. The constrained pilot supply has become a quiet

            existential crisis, with many U.S. air carriers blaming the pilot shortage for bankruptcy

            filings, increased service loss, cancellation of aircraft orders, and an increasing number

            of business closures. Even the U.S. Air Force has publicly cited a shortage of qualified

            pilots, and has initiated new measures to mitigate the problem.19            Against this

            prevailing industry-wide phenomenon, it is nearly impossible that an air carrier like

            Atlas would not encounter serious issues in recruiting and retaining adequate numbers

            of qualified pilots.

       G. Perhaps a sign of the tightening pilot market is the three-fold increase in the share of

            Atlas pilots leaving since 2013. As can be seen in Exhibit 10 below, Atlas pilot attrition

            has steadily risen from around 4 per 1,000 pilots per year to greater than 12 per 1,000

            pilots in 2017.




19   Please refer to Appendix C for a bibliography of information pertaining to the constrained
     supply for qualified pilots.

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Exhibit 10: Atlas Pilot Attrition Rate Has Tripled Over the Past Four Years20




       H. Sometimes simple explanations are the best. Given the extraordinary growth and

            change that Atlas has experienced in the past few years, it would appear plausible to

            expect that such high growth and complexity would cause a discernable impact on Atlas

            operations. Indeed, a regression evaluation of Atlas departure growth and the share

            of Atlas’s arrivals that are delayed suggests a causal relationship. As shown in below in

            Exhibit 11, the volume of Atlas monthly departures is closely tied to variations in Atlas

            flight arrival delays. The variation of share of flight arrival delays is explained by

            departure volumes, as indicated by an r-square of 60%.




20   Compiled from data provided by Atlas.

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Exhibit 11: Arrival Delays Have Been Caused by Growth in the Atlas Operation




Exhibit 12: Regression Output - Atlas Operational Tempo to Delayed Arrivals 21

         SUMMARY OUTPUT

             Regression Statistics
         R Square               0.596
         Observations              56

                          Coefficients   Standard Error      t Stat          P-value

         Intercept       0.291219521        0.03397695         8.5711 0.000000000012

         X Variable 1    0.000112649        1.26211E-05        8.9254 0.000000000003




21   Analysis based on Atlas data.

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IV. EVALUATION OF EXPERT ANALYSIS COMMISSIONED BY PLAINTIFF


   A.   Although the nature of Dr. Lee’s statistical evaluation of changes in pilot behavior and

        the alleged operational impact it causes appears to be one of logic and reasoned

        statistical analysis, a more careful examination tells a different story. Dr. Lee has used

        nearly 100 pages of his Declaration to prove an assertion for his client that simply is not

        borne out through his efforts. The evaluation and its conclusion, as performed by Dr.

        Lee and as represented in his Declaration, appear to be designed to convince the Court

        that his clients’ assertions are valid, when they are not. His analysis is anything but

        analytical, and he employs statistical analysis as a cover which does not -- in the end --

        provide a valid context in which to evaluate the actual underlying causes of changes in

        pilot behavior and its impact on Atlas operations. As is demonstrated below, each of

        his statistical evaluations are flawed and should not be relied upon to judge the cause

        or impact of pilot behavior on Atlas.



   B.   Sick Calls

          1. In the first section of his analysis exploring changes in pilot behavior, Dr. Lee

             utilizes an odd measure of changes in pilot short-notice sick calls as a “proportion”

             of total sick calls, which he claims were the sole result of Union orchestration after

             February 2016. In more than 30 years of work with airline pilots I have never seen

             this measure employed to describe changes in pilot behavior. It would seem that

             the proportion of total sick calls could be affected by a number of issues unrelated

             to the operation such as a rise in the proportion of short notice calls to total sick

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                 calls simply from a drop in total sick calls. Perhaps it would be more appropriate

                 to measure total pilot sick calls per departure to get a better sense of changes in

                 pilot behavior. Below, Exhibit 13 shows that the volume of pilot sick calls per

                 departure has remained at the average of 0.07 for the period prior to and the

                 period after Section 6 date. 22 It is therefore reasonable to assume that pilot sick

                 calls had little if any effect on operations as the overall average was the same from

                 January 2011 through August 2017.



Exhibit 13: Atlas Pilot Sick Calls per Departure Remains at Same Average Rate, Before and After
Section 6 Notice 23




22   Measured separately, January 2011 – January 2016 = 0.07, February 2016 – August 2017 =
     0.07.
23   Based on an analysis of Atlas data.

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    2. Dr. Lee’s notion that Union orchestration caused a statistically significant change

      in the proportion of pilot short-notice sick calls, and that this had a definable

      impact on operations is never fully explored. Not only has Dr. Lee failed to identify

      a specific cause other than a point in time – as measured by a “dummy variable”

      – he also fails to link pilot sick calls to any material impact on the operation. There

      is nothing in Dr. Lee’s analysis of sick time that suggests a rise in sick time resulted

      in material impacts to the Atlas operation, whether in terms of flight delays or

      other possible effects.



    3. Operational Expansion is Increasing Pilot Short Notice Sick Calls. The phenomenal

      growth of the combined Atlas operation throughout this period, as well as the

      increased complexity of the operation -- including the addition of Amazon

      operations in early 2016 -- are examples of changes in conditions which could

      reasonably affect pilot behavior. This is especially true if pilots are increasingly

      exposed to the operational stress such changes may deliver. Such stress may be

      related to increasing numbers of departures per pilot or increased time away from

      base, or a number of other factors such as a dramatic increase changes in flying

      assignments, both prior to and during trips.




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            4. An investigation of the potential cause of short-notice sick calls shows a strong

              explanatory relationship with the number of monthly departures. A simple

              regression analysis indicates a strong relationship between pilot short notice sick

              calls over time, as explained by growth in Atlas departures. The results of the

              ordinary least squares regression of monthly pilot short-notice sick calls versus

              total monthly Atlas departure strongly indicate a causal relationship. Regression

              results indicate that 68% of the variation in pilot short-notice sick calls are

              explained by changes in monthly departures, with the coefficient of the

              explanatory variable significant at 99% confidence level.




Exhibit 14: Regression Output - Short Notice Sick Calls Are a Result of Operational Tempo

              SUMMARY OUTPUT


                   Regression Statistics
              R Square                   0.68
              Observations                  56




                                                  Standard
                                Coefficients        Error         t Stat             P-value

              Intercept           (45.5412)      7.200457       (6.2102)      0.0000000051908

              X Variable 1         0.028891      0.002675      10.80177       0.00000000000000416




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               5. With the strong relationship between short-notice sick calls and departures

                 evidenced in the regression analysis it is possible to compare a plot of actual short

                 notice sick call data versus a forecast of what would be expected based on growth

                 in Atlas departures. As shown in Exhibit 15 below, the actual pilot short-notice

                 sick data depicted with gray bars closely resemble the volume of monthly pilot

                 sick notice calls as determined by change in monthly departure shown by the red

                 line using regression results.



Exhibit 15: Atlas Monthly Pilot Short-Notice Sick Calls, Actual and Forecast With Simple
Explanatory Regression 24




24   Forecast based on OLS regression analysis of monthly pilot short-notice sick calls versus total
     monthly departures, using data supplied by Atlas.

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    6. Pilot short-notice sick calls have indeed risen over time, as shown by the gray bars

      starting after October 2016. However, this time-line does not correspond with Dr.

      Lee’s narrative of Union orchestrated behavioral changes beginning in February

      2016. As can be seen, the number of pilot short-notice sick calls drops during the

      first seven months after February 2016 below the level experienced in the year

      prior, and was generally increasing in the time prior to February 2016.       Rather

      than investigate the possible causal relationship of this behavior change with

      operational factors, Dr. Lee jumps to the conclusion based on a flawed binary trial

      that the volume of short-notice sick calls experienced after Section 6 date has a

      chance “one-in-a billion” chance of happening randomly. This increase in short-

      notice sick calls is not happening randomly, as rapidly changing operations and

      growth are highly related to the increased volumes of short-notice sick call

      volumes. By simply using regression results against a rapidly growing number of

      departures over time, the forecast results for the post Section 6 period very closely

      track the actual number of pilot short-notice sick calls that has actually occurred.



    7. Dr. Lee’s Binomial Trial is Flawed. The results of Dr. Lee’s binary trial to measure

      the statistical significance of the difference in average proportion of pilot short-

      notice sick calls before and after Section 6 notice date in February 2016 are flawed

      and unreliable. As shown previously, binary trials require at a minimum that

      underlying conditions which affect outcomes throughout the trial period remain

      constant so as to isolate the measurements from interference due to changes in



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         conditions. Dr. Lee does not consider the enormous changes in Atlas operation

         and the potential impacts pilot behavior, which violate a principal condition

         required for credible binomial trials.      As demonstrated, regression analysis

         indicates that there exists a strong statistical relationship between Atlas’s

         operational growth on pilot behavior over time. As a result, Dr. Lee’s observations

         of changes in pilot behavior do not have an equal probability of “success” as

         changes in Atlas’s operation is shown to affect pilot behavior. Thus, Dr. Lee’s

         claimed statistical significance of changes pilot behavior from binomial trials are

         not reliable, and are in fact related to operational change rather than Union

         orchestration commencing in February 2016.



C.   Fatigue

       1. There is perhaps no greater example of the degree to which Dr. Lee appears

         blinded by his pursuit to prove pilot behavior was geared to leverage Section 6

         negotiations than his evaluation of pilot fatigue calls. For example, when the visual

         display of data in a chart or graph clearly highlights obvious trends, further

         sophisticated statistical analysis may not be required. The growth in Atlas pilot

         fatigue calls over time is one such example. Shown below, in Exhibit 16, is a copy

         of Exhibit 7 from Dr. Lee’s declaration which depicts Atlas monthly fatigue calls per

         1,000 pilots from July 2014 through August 2017. This chart includes the same basic

         fatigue call data as shown in Dr. Lee’s Exhibit 7, however it excludes the

         segmentation used in his original chart which divided the chart data into two



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              sections, one before the February 2016 Section 6 date, and one section after. One

              has to ask from the chart below, did the increase in pilot fatigue calls actually begin

              after February 2016? The obvious answer is no, as the graph in Dr. Lee’s Exhibit 7

              clearly shows that Atlas pilot fatigue calls have grown since early 2015, with some

              variability over the period through August 2017. So as with short-notice sick calls,

              Dr. Lee here again with fatigue calls asserts that an obvious and well established

              trend in pilot behavior that predates February 2016 is actually pilot induced after

              February 2016.




Exhibit 16: Atlas Monthly Fatigue Calls - As In Lee Declaration, Exhibit 7




            2. The Alleged Causes Do Not Explain the Effects. From Exhibit 16 above It is not

              evident that the growth in pilot fatigue calls are in any way connected to the

              February 2016 Section 6 date, as Dr. Lee contends in his Declaration:

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              “Thus, it is reasonable to conclude that the steady increase in pilot

              fatigue calls the Company began experiencing shortly after the

              Union sent its Section 6 notice—which coincides with the start of

              the Union’s campaign advising pilots to engage in a variety of

              slowdown activities, including calling in fatigued—is the result of

              a concerted action aimed at exerting leverage on the Company by

              disrupting its operations.



    3. There is no merit in Dr. Lee’s claim despite his counterfactual statistical analysis to

      prove otherwise.     If there is a growing trend over time in any change in pilot

      behavior a binomial trial will tend to show statistically significance based solely on

      the rate of growth over time. There simply is no logical connection from the fatigue

      data shown in his Exhibit 7 and a “concerted action” after the Union sent its Section

      6 notice.




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Exhibit 17: Trend in Increased Fatigue Rates Began Well Before February 16 Section 6 Date




           4. As shown in Exhibit 17 above, the obvious trend in increasing pilot fatigue calls

             began well before February 2016, and is perhaps reflective of a natural reaction of

             pilots becoming more fatigued as Atlas operation grew rapidly and became more

             complex during this period. In any event, I strongly contend it is not “reasonable

             to conclude that the steady increase in pilot fatigue calls the Company began

             experiencing shortly after Section 6 notice is the result of concerted action aimed

             at exerting leverage on the Company by disrupting is operations”, as Dr. Lee

             believes.



           5. Rather than jump to this odd and counterfactual conclusion, it is clear that Dr. Lee

             could have seen the obvious trend in fatigue rates prior to February 2016 and/or

             attempted to undertake a more sensible analysis of fatigue data to understand the

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             potential causes of this longer-term growth in pilot fatigue calls. Either way is a

             better means by which to assess growth in pilot fatigue than his conclusion. A

             simple regression analysis provides a strong relationship between pilot fatigue

             growth over time as explained by growth in Atlas departures. Regression results

             indicate that 71% of the variation in pilot fatigue calls are explained by changes in

             monthly departures, with the coefficient of the explanatory variable significant at

             99% confidence level.



Exhibit 18: Regression Output - Fatigue Calls Are Explained By Operational Tempo



             SUMMARY OUTPUT


                  Regression Statistics
             R Square                   0.71
             Observations                  38


                                                  Standard
                               Coefficients         Error          t Stat               P-value

             Intercept          (64.4644082)    8.3666157       (7.7049563) 0.000000003993

             X Variable 1         0.0267686     0.0028794       9.2965164      0.000000000042



           6. With the strong relationship between fatigue and departures evidenced in the

             regression analysis it is possible to compare a plot of actual fatigue data versus a

             forecast of what would be expected based on growth in Atlas Departures.           As

             shown in Chart X below, the actual pilot fatigue data depicted with gray bars closely


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                resemble the volume of monthly pilot fatigue as determined by change in monthly

                departure shown by the orange line using regression results. As with other changes

                in pilot behavior over time, it is indeed curious that Dr. Lee chose not investigate

                potential for underlying operational forces which could cause such change.

                Regression analysis clearly points to the logical relationship between the rapid

                growth in Atlas departures and the resulting increase in pilot fatigue. No credible

                analysis of the trend in Atlas pilot fatigue can be linked to the Section 6 date in

                February 2016 as Dr. Lee claims.



Exhibit 19: Atlas Monthly Pilot Fatigue Calls per 100 Active Pilots - Actual and Forecast 25




25   Forecast based on OLS regression analysis of monthly pilot fatigue calls versus total monthly
     departures. Based on data provided by Atlas.

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     7. Dr. Lee’s Causality Is Assigned, Not Observed. As with the previous evaluation of

      short-notice sick calls, Dr. Lee’s analysis of increases in pilot fatigue calls is plagued

      with issues and errors that are confronted by the simple reality that pilot fatigue

      calls did not begin to increase on or about February 2016, but actually followed a

      logical path which began years before. Therefore, the increase in pilot fatigue calls

      cannot be attributed to pilot behavioral change which occurred after February

      2016, as Dr. Lee claims, but something else.



     8. The binomial trial Dr. Lee undertakes on fatigue calls before and after February

      2016 also suffers from the same bias that undermined the validity of the results

      and analysis of pilot short-notice sick calls. As shown through regression analysis,

      there is a logical connection between operational growth and increased pilot

      fatigue calls. Since increased operations are shown to be significantly responsible

      for increases in pilot fatigue calls, the “all else being equal” condition required for

      binomial regressions is violated, and his probability assessment is not reliable and

      the results should not be considered valid.



D. Open Time

     1. Open time trips are flights that do not have pilots pre-assigned to fly them, and

      they are opportunities for pilots to volunteer to fly trips on their days off. In effect

      open time could be viewed as overtime work. Atlas pilots are not required to fly

      such trips, but volunteer to do such flying to support the needs of their Company



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                and increase their income. As with increases in pilot short-notice sick calls and

                fatigue calls, the degree to which pilot’s volunteer to fly on their days off is

                connected in a causal manner to a factor other than pilot behavior on its own.

                Obviously, it is also logical that if pilots are finding themselves increasingly sick or

                fatigued during regular flying, or they experience longer trip times away from

                home, they would be also less able to volunteer to fly additional trips.



            2. The idea that increases in time away from base are connected to pilot’s ability to

                fly open time trips is perhaps best shown in the regression results below. These

                results in Exhibit 20, compare increases in pilot time away from base during normal

                “day on” flying as a significant explanatory factor in the decreases in time away

                from base on “days off”. Its serves to reason that pilots away for longer periods on

                regular work days will be less likely volunteer for open time trips on their days off.

                The regression results highlight through r-square result that 60% of the variation

                of time away during days off is explained by the time away from base for days on.



Exhibit 20: Regression Output

 SUMMARY OUTPUT

 Regression Statistics
 R Square       0.602
 Observations 30

                  Coefficients Standard Error       t Stat            P-value
 Intercept        88282.106 9699.344                9.101863271       0.000000000737
 X Variable 1     -0.190       0.029                -6.510189094      0.000000469037


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              3. As shown below in Exhibit 21 (an exact facsimile of Exhibit 9 from Dr. Lee’s

                Declaration), open time trips that were left unfilled do not fit the narrative that

                changes in pilot behavior hinged on Section 6 date in February 2016. In fact, during

                three of the first six months after Section 6 notice Atlas actually had a lower

                percentage of open time not covered than the average of the open time trips not

                covered in the six months immediately prior to Section 6 notice.26 Again, there is

                no obvious connection to the February 2016 Section 6 notice with the increase in

                the share of open time trips left uncovered after September 2016.




Exhibit 21: Proportion of Open Time Trips That Were Not Filled - Originally Exhibit 9 in Lee
Declaration




26   Open time trips left uncovered in June 2.4%, July 2.5%, and August 1.4% in 2016 were each
     lower than the average of uncovered trips in the 6 months prior to Section 6 notice of 3.0%.

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    4. In observing this data set Dr. Lee contends as follows on page 30 of his Declaration:



           “Exhibit 9 also shows that since February 2016 (i.e., following the

           Union’s Section 6 notice), there have been eleven months with over 5%

           of open time trips unfilled, and the rate surged to 42% unfilled in

           December 2016. Moreover, the sharp increase in the proportion of

           open time trips left unfilled is not the result of a commensurate

           increase in the amount of available open time being offered. To the

           contrary, as Atlas began to experience a reduced willingness among

           its pilots to accept open time flying (see Exhibit 8 above), it added

           additional pilots (at a substantial cost to the Company). As a result,

           the number of open time trips available declined from an average of

           132 per month between January 2015 and February 2016 to only 73

           per month from March 2016 to August 2017. Notwithstanding this

           reduction in the supply of open time trips (which itself was brought on

           by the decline in pilots’ willingness to accept open time), the

           proportion of open time trips left unfilled remains substantially above

           its historical average.”



       With the exception of three months (October 2016, December 2016 and March

       of 2017) the increased share of open time trips left uncovered starting in

       September 2016 appears connected to the drop in the volume of open time trips



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                 available. Exhibit 22 below shows the total volume of open time trips offered

                 each month and the number of trips uncovered. What can clearly be seen is as

                 the number of trips available in open time drops, the number of trips uncovered

                 increases. The impact of fewer open time trips offered reduces the denominator

                 and the greater volume of uncovered trips is a dramatically increased as a percent

                 of trips left uncovered, as Dr. Lee’s Exhibit 9 depicts.



Exhibit 22: Number of Open Time Trips Offered vs Number of Open Time Trips Left Uncovered
per Month 27




              5. Another factor which needs consideration is the degree to which the nature of

                open time trips has changed. As Atlas has reduced the number of open time trips



27   Compiled from Atlas data.

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     it is possible that the number or proportion of desirable trips has decreased, which

     in turn could cause pilot to be as willing to pick up such trips. This could be the

     cause of increased call volume the Company claims when trying to fill open trip.



    6. I have been informed that after 2015 Atlas pilots volunteering for open time duty

     have been subjected to fly an increased amount on “Company” aircraft rather than

     commercial passenger carriers to get to and from revenue flying.              Pilots

     deadheading on Company aircraft are subjected to less direct flights and lower

     standards of accommodations as compared to commercial flights. This change

     may make it more difficult to get pilots to volunteer for open time trips if this

     change has occurred.



    7. Exhibit 23, below is included as a point of reference and context of the level of

     unfilled open time trips on Atlas’s operation. As shown, the share of Atlas

     departures that are open time trips offered drops precipitously after May 2016,

     while the share of open time trips unfilled to total departures remains tiny, less

     than 0.5% during any month since January 2015. As will be shown, the share of

     Atlas operations that are late on arrival are consistently well above 50% both

     before and after February 2016. The impact of unfilled open time trips of less than

     0.5% of these departures must be viewed in context of Atlas operations as having

     extremely limited impact on delays and customer goodwill.




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Exhibit 23: The Share of Open Time Trips Offered and Unfilled is a Small Share of Atlas Total
Operations




              8. Dr. Lee’s extensive investigation into pilot behavior and its alleged impacts on

                Atlas operations, which he claims are affecting the goodwill between the airline

                and its customers, does not include the specific relationship between changes in

                pilot behavior and actual arrival delays. 28 Perhaps it is counterintuitive that the

                share of open trips uncovered would increase as open trips decreased. As stated

                previously, it is possibly the result of the trips which remained as open time trips

                perhaps not being as attractive as the trips offered when the number of open time

                trips was far greater.




28   Dr. Lee does not explore tips with no delay or delays less than 6 hours+ which account for
     98% of Atlas’s operations.

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       E.   Extended Delay

              1. Through the data underlying his analysis of extended delays, Dr. Lee attempts to

                assert once again that changes in Atlas’ operation were caused by pilot behavioral

                change he claims began in February 2016. As with numerous other examples, the

                evidence of Atlas’s delays of greater than 6 hours do not correspond with Dr. Lee’s

                assertions, as can be seen in his Exhibit 20, reproduced below. The average share

                of Atlas’s arrivals with extended delay’s during the first 9 months after February

                2016 actually decreased to an average of 1.2%, which is less than the average of

                1.4% for the four (4) years prior.29




29   Lee, at page 58. Excludes what Dr. Lee considers uncontrollable or secondary delays of
      greater than 6+ hours.

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Exhibit 24: Percent of Atlas Flights With Extended Delays of At Least 6 Hours – Facsimile of Lee
Exhibit 20




            2. It appears that since the data clearly do not fit his timeline or narrative, Dr. Lee

              chose to segment the delay data into two separate post-Section 6 periods; one for

              each day of the nine (9) month period February 16, 2016 through November 30,

              2016, and a second period beginning December 1, 2016 through September 2017,

              each with its own separate average. There is no credible event to define these

              segments, and therefore it appears that Dr. Lee has force fit the available data to

              meet his narrative. Segmenting the data subjectively in this way with no defining

              rationale opens up the possibility to justify segmenting data in this and other

              measures into a multitude of other periods. He posits no reasonable explanation

              for this segmentation, and again fails to explore any potential direct relationship

              between changes in pilot behavior and its operational impacts.


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               3. Dr. Lee overstates the impact of a small change. The obvious inverse of the

                 percentages of flights with extended delays is the percentage of flights without

                 extended delays. As shown in Dr. Lee’s Exhibit 20, over the three-year period prior

                 to February 2016, 1.4% of Atlas flights arrived 6 or more hours late on average.30

                 This means that 98.6% of Atlas flights operated at less than 6 hours of delay during

                 this period. Ignoring the initial 9 months after February 2016 which Dr. Lee

                 segments into a separate category, the average share of Atlas flights with extended

                 delays increased to 2.4% in the period starting December 2016 through September

                 2017. This means that in this period the share of Atlas flights with less than 6 hours

                 delay averaged 97.6%, a decrease of 1%.         However, for some reason, Dr. Lee

                 contends that this small change of 1.0% should be viewed as a 70% increase in the

                 proportion of Atlas’s flights suffering extended delays. 31


               4. In his regression analysis of extended delays, Dr. Lee chose to utilize far less

                 definitive proxy “dummy” variables for each his two segmented periods, which are

                 simply measuring time frames rather than actual explanatory variables. In his

                 Declaration, Dr. Lee offers this explanation for his separation of the two post-

                 Section 6 time periods in his regression analysis: 32




30   After having excluded other flight delays Dr. Lee calls uncontrolled or secondary.
31   Lee, at page 59.
32   Lee, at page 61.


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             “To measure the incremental effects of changes in pilot behavior

             since the Union sent its Section 6 notice, I include two dummy

             variables: D(Feb 16, 2016-Nov 30, 2016) takes the value one on each

             day between February 16, 2016 and November 30, 2016 (inclusive)

             and is zero otherwise, and D(post-Dec 1, 2016) takes the value one

             for each day on or after December 1, 2016. While D(Feb 16, 2016-

             Nov 30, 2016) captures the initial increase (if any) of prolonged

             delays due to changes in pilot behavior that occurred after the

             Union’s Section 6 notice, D(post-Dec 1, 2016) captures the effect of

             more recent changes in pilot fatigue calls, short-notice sick calls,

             and an unwillingness to pick up open time that started to rise more

             prominently towards the end of 2016 (see Section IV above).”



    5. Beyond the weak logic behind his segmentation of time periods, Dr. Lee’s

     regression analysis of extended delays also suffers from an extremely weak

     explanatory power for his analysis.        As shown on Exhibit 22 in his

     Declaration, the r-square values of his four regressions are all less than 10%.

     This indicates that his attempt to explain the variation in extended delays

     through the regression analysis only explains less than 10% of variation. In

     this context the significance of the dummy variable for the post December

     2016 period at the 99% confidence interval also has to be discounted as it is




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                in context of the extremely weak explanatory power of the regression

                analysis overall.



                        “Overall, based on the estimated coefficient from column (1), the

                        combined effect of changes in pilot behavior since December 2016

                        have contributed to approximately 380 prolonged delays over and

                        above the number that would have been expected to occur.” 33




              6. The weak explanatory power of the regression analysis combined with the

                artificial segmentation of post Section 6 data, as well as the use of dummy

                variables, undermines Dr. Lee’s assessment that there is a causal link

                between supposed Union orchestrated changes in pilot behavior

                commencing on February 2016 and extended delays. He simply never

                explores the issue to test changes in pilot behavior and their potential

                impact on extended delays. His extrapolation from the weak explanatory

                power of his regression analysis to express an estimate of the number of

                excess delays caused by changes in pilot behavior is not reliable or credible.




33   Lee at page 63.

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       F.   Loaded and Ready

               1. In his attempt to link alleged Union orchestrated pilot behavioral change to impact

                Atlas’s operation Dr. Lee states on page 8 of his Declaration:



                         “For example, starting around the time that the Union sent its

                         Section 6 notice, there has been a sharp and persistent decline in the

                         willingness of pilots to depart when their aircraft is loaded and

                         ready” 34


               2. The concept Dr. Lee asserts, that he has assessed the gap in which each aircraft is

                “loaded and ready” as calculated against estimated departure time, as a measure

                of alleged pilot instigated departure delays. This assertion is unfounded and not

                credible as there exists no such measure of when an aircraft is loaded and ready.

                In reviewing the data that Dr. Lee utilized, as well the analysis he relied upon, there

                is no evidence that there is any data available to assess when an aircraft is “loaded

                and ready”. Since no such data exists, his theory that pilots were less willing to

                depart when loaded and ready before estimated departure time remains untested

                and baseless. The data Dr. Lee asserts that he has measured as the time an aircraft

                status is loaded and ready is actually a comparison of actual departure times as

                compared to estimated departure time (ETD). No measure of loaded and ready is

                utilized or available. The vast majority of Atlas’s operations depart before or



34   Lee at page 8.


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              exactly at the estimated departure times, both before and after February 2016.35

              These are not tied to arrival delays, and Dr. Lee never tests that assessment, even

              though he repeatedly asserts it in his Declaration.

            3. Dr. Lee chose to explore what are effectively small changes in the take-off times

              “before” or at estimated departure time as an indication of concerted effort by

              Atlas pilots to not depart when loaded and ready. It is indeed striking that Atlas’s

              departures that leave before or exactly at estimated departure time can be

              somehow considered delayed. In Dr. Lee’s analysis, if an aircraft leaves five

              minutes before ETD, but not as early as in the past, he considers it delayed, even if

              arrives a half hour before scheduled arrival time.



            4. Nonetheless, to assess the statistical significance of departure to ETD gaps Dr. Lee

              provides in his Declaration on Exhibit 14 three separate regressions which contain

              a wide variety of over 20 separate variables to evaluate changes in the time gap

              between actual and estimated departure times. From his analysis he concludes:



                      “In sum, Exhibit 14 clearly shows that since February 16, 2016, the

                      vast majority of flights that traditionally departed when loaded and

                      ready prior to the ETD now leave exactly at the ETD.” 36




35 Excluding uncontrolled and secondary delays as shown in Dr. Lee’s Declaration in Exhibits 12
    and 13.
36 Lee at page 45.



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                Besides misstating what he has measured, changes in actual departure times can

                be affected by wide variety of factors which Dr. Lee does not consider in his

                analysis, such as air traffic control issues, weight and balance calculations, pilot rest

                requirements, changes in operational complexity, and Atlas’s greatly increased

                exposure to domestic operations, for example.37


              5. The results of Dr. Lee’s three regression analyses regarding departure time and

                ETD gap include, 1) departures occurring before ETD, 2) departures occurring at

                ETD, and, 3) departures occurring after ETD. Although unlike other of Dr. Lee’s

                regression results with low explanatory power, such as with his analysis of

                extended delays, two of the three regressions relating to changes in departure

                times versus ETD appear to have significant overall explanatory power. Both the

                regression analysis of the changes in the time gap between take off before ETD and

                the one for departures exactly at the ETD reflect r-square statistics with 85%

                explanatory power. As shown below, there are significant problems due to the

                complexity and redundancy of Dr. Lee’s model which undermine the explanatory

                power of these regressions. Notably, Dr. Lee’s the regression measuring the

                impact of departures after ETD has relatively weak explanatory power of 27.6%.




37   Although Dr. Lee includes US Industry D0 departure delay rate in among the numerous
     variables in his regression analysis of Atlas’s departure times, he does not provide a
     weighting of Atlas operations to discern domestic and international operations required to
     address increased exposure to domestic operations.

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Exhibit 25: Facsimile of Lee Exhibit 14 - Regression Outputs




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               6. From this lengthy list of regression output in Lee’s Exhibit 14 it would appear that

                 Dr. Lee has done an extensive evaluation of variables that could potentially explain

                 changes in the gaps in departure time to ETD. However, in statistics sometimes

                 less is more. Due to the type and sheer volume of explanatory variables used in

                 Dr. Lee’s regression analysis it is questionable whether the results are reliable. First

                 off, the sheer volume of 21 explanatory variables appears excessive and likely

                 artificially increases the explanatory power, r-square, of the regression. 38 In

                 addition, if some of his selected explanatory variables are highly correlated with

                 each other, the result is a common statistical problem known as multicollinearity,

                 which can inflate variable significance and alter the signs (+ or -) of other

                 variables. 39 I would expect that the following explanatory variables used in his

                 regression model are highly correlated and suffer from multicollinearity.



                  a.    Monthly Atlas Departures and Daily Atlas Departures;




38   Every time you add a predictor to a model, the R-squared increases, even if due to chance
     alone. It never decreases. Consequently, a model with more terms may appear to have a
     better fit simply because it has more terms. Source: Minitab.
39   Many difficulties tend to arise when there are more than five independent variables in a
     multiple regression equation. One of the most frequent is the problem that two or more of
     the independent variables are highly correlated to one another. This is called
     multicollinearity. When two variables are highly correlated, they are basically measuring the
     same phenomenon. When one enters into the regression equation, it tends to explain most of
     the variance in the dependent variable that is related to that phenomenon. This leaves little
     variance to be explained by the second independent variable. Source:
     http://web.csulb.edu/~msaintg/ppa696/696regmx.htm

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      b.    Monthly Average Flight Time, Monthly Pilot Block Time and Daily Pilot Block

            Time;

      c.    Average Age of Aircraft, Percent of Aircraft in Unscheduled Maintenance,

            and New MELS per aircraft.



    7. With the combination of excessive number of variables and the high likelihood of

     multicollinearity existing amongst several variables, the results shown in Exhibit 14

     are very likely to be unreliable, with the impact overstating both explanatory

     power of the regression and altering the significance of explanatory variables.



    8. In my experience, time definite air cargo customers are not nearly as concerned

     about departure delays as long as arrivals are on time. Therefore, it remains

     peculiar that Dr. Lee chose to explore marginal changes in gaps in actual departure

     times to ETD as being orchestrated by pilot’s willingness to depart when loaded

     and ready, an unmeasured quantity, and not directly explore impacts of any of

     alleged changes in pilot behavior on change in actual arrival delays. In addition,

     none of Dr. Lee’s regression analyses of the impact of pilot behavior change on

     operations contain a single pilot behavioral change as an explanatory variable.



    9. Perhaps the best explanation for Dr. Lee not presenting an analysis of alleged

     Union orchestrated behavior change on Atlas operational delay stems from the

     fact that Atlas operations appear to be consistently and chronically late. A shown



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                in Exhibit 26, below, the operations data provided by Atlas indicates that since

                2005 its arrival delays have ranged from approximately 50% to 80% of total

                operations.



Exhibit 26: Share of Atlas Flights Experiencing Arrival Delays – July 2007 to September 2017 40




             10. Attempts to discern operational impacts of changes in pilot behavior, or any other

                change for that matter, is rendered near impossible when the majority of Atlas

                operations are already delayed. From the chart above, it is clear that the share of

                Atlas flights that arrived late peaked in 2008 at approximately 80% then dropped

                to less than 60% on average in 2011, after which delay shares rose steadily to near

                70% in 2017. Trying to ascribe the impact on delay from pilot behavior in a sea of

                delays after February 2016 is likely the reason Dr. Lee did not present analysis


40   Compiled from Atlas data.

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                relating changes in pilot behavior with changes in Atlas’s arrival delays. There may

                quite simply be no means by which to extract discrete impacts from Atlas’s

                operation from changes in pilot behavior. Perhaps as a result, Dr. Lee may have

                chosen to evaluate delays in the form of departure time to ETD gaps (which are

                really not delays nor unwillingness to depart when loaded and ready) and extended

                delays (which represent only about 2%-3% of total Atlas operations). A closer look

                at near term trends of Atlas’s delayed arrivals from January 2013 through

                September 2017 is shown below in Exhibit 27.



Exhibit 27: Share of Atlas Flights Experiencing Arrival Delays – January 2013 to September
2017 41




41   Compiled from Atlas data.

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             11. Clearly the upward trend in arrival delays shown in Exhibit 27 began well before

                the Section 6 date in February 2016, therefore there is no merit in asserting as that

                the Union orchestrated pilot behavior designed caused the increase in delays as

                Dr. Lee contends repeatedly in his Declaration with unsubstantiated statements

                such as this:



                           “In sum, based on the analysis summarized in this report, it is my

                           opinion that the changes in numerous measures of pilot behavior

                           (e.g., increases in the proportion of sick calls made on short-notice,

                           increases in fatigue calls, decline in the willingness of pilots to pick

                           up open time or depart once their aircraft is loaded and ready, etc.),

                           which have resulted in a deterioration of the Company’s operating

                           performance and a loss of goodwill among many of its key

                           customers, are the result of a concerted job action by Atlas’s pilots

                           aimed at exerting leverage on the Company during the current

                           contract negotiations.” 42



             12. These claims remain unsubstantiated as there is simply no valid connection

                demonstrated between alleged Union orchestrated changes in pilot behavior and

                impactful operational changes. Many operational changes were part of already

                established trends or explained by Atlas’s extreme growth and changing network


42   Lee at pages 75 -76

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                of services and customers. As with other examples already discussed, the increase

                in the share of Atlas’s flights that experience arrival delays do not begin in February

                2016 as Dr. Lee repeatedly alleges.



             13. Exhibit 28 below highlights Atlas’s increased operational performance over time.

                As shown, since 2013 there has been a steady increase in the number of flights that

                are arriving on-time. On-time arrivals per month after February 2016 increase in

                most months to levels above that of any month prior to February 2016.



Exhibit 28: Share of Atlas Flights Arriving on Time - January 2013 to September 2017 43




43   Compiled from Atlas data.

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G. Mechanical Write-Ups

      1. Each aircraft in Atlas’s fleet is inspected by its pilots in standard pre-flight checks

        before each departure, as well as by mechanics during normal operations. The

        mechanical discrepancies that are discovered are reported by either Atlas’s

        mechanics or pilots. While the number of mechanical write-ups by pilots increased

        in 2016, the number of total reported mechanical write-ups reported by both

        mechanics and pilots actually dropped substantially in 2016. It is plausible that

        mechanical write-ups normally reported by mechanics got reported instead by

        Atlas pilots. In Exhibit 29 below, the rate of total mechanical write-ups per

        departure filed by both mechanics and pilots is charted over time since July 2005.

        As can be seen the total number of write-ups trends upwards for the majority of

        the time from 2005 through 2015, then begins a sharp downward trajectory in late

        2015 through early 2017. Total mechanical write-ups per departure decline after

        December 2015.




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Exhibit 29: Atlas Total Maintenance Write-Ups per Departure 44




              2. Exhibit 30, below, shows mechanical write-ups filed separately by pilots and

                mechanics. As shown, there is a precipitous drop in the number of write-ups

                traditionally filed by mechanics at the end of 2015. Mechanic write-ups dropped

                from an average 200 per month per aircraft for the two-year period January 2014

                through December 2015 to an average of 159 aircraft from January 2016 through

                August 2017. The number of pilot write-ups increased from an average of 22 per

                month per aircraft for the two years prior to 2016 to an average of 34 per month

                per aircraft after January 2016. There appears to be a substitution effect occurring

                in Atlas’s mechanical write-ups between its pilots and mechanics. Pilot write-ups

                increased perhaps as a result of either covering write-ups previously filed by

                mechanics, or mechanics write ups decreased as a result of increased pilot write-


44   Compiled from Atlas data.

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                ups. The net effect is an average drop of 28 write-ups per aircraft per month as

                per aircraft since early 2016 as the decrease in mechanic’s write-ups was not offset

                by the increased write-ups filed by pilots.



Exhibit 30: Atlas’s Total Monthly Mechanical Write-ups per Aircraft 45




       H. Slow Taxi

              1. Dr. Lee explores the impact of alleged Union instigated slower taxi times from gate

                to active runway (and vice versa) as an indicator of a pilot orchestrated slowdown

                after February 2016. His analysis notwithstanding, his conclusion provides the

                measure by which this impact should be considered. As Dr. Lee stated after

                interpreting the results of his analysis of taxi times after February 16, 2016:



45   Compiled from Atlas data.

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                        “…taxi-out times for Atlas’s flights have increased by an

                        average of 0.62 minutes, while taxi-in times have increased

                        by an average of 0.60 minutes…” 46


              2. Interpreting these results in more common language, Dr. Lee found that Atlas’s

                system wide taxi-times increased by 37 seconds for taxi-out and by 36 seconds for

                taxi-in. In a global operation of Atlas size there is surely no operational impact Dr.

                Lee could point to related to taxi times. Any number of factors could affect the

                operation far greater than the claimed increase in ground taxi times, which in itself

                could be the result of changes in Atlas operation to a much more domestically

                oriented, scheduled operation.




46   Lee at page 54.

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V. CONCLUSION


  After my review of Dr. Lee’s Declaration and analysis of data related to pilot behavior and

  Atlas’s operations I conclude that pilot behavioral change is not linked to alleged Union

  orchestration beginning on or about February 2016. I further conclude that Dr. Lee did not

  provide sufficient causal links of changes in pilot behavior to detrimental changes in Atlas’s

  operation.


  A summary of my conclusions are as follows;


        1. Dr. Lee did not undertake an analytical evaluation;

        2. Dr. Lee used statistics in his analysis to meet his assertions and the Company’s

            claims;

        3. Dr. Lee invented terms and measures, ignored major caveats in statistics, and

            manipulated time lines of events to fit his narrative;

        4. Dr. Lee never actually tried to investigate, or otherwise take into context, other

            potential causes of change in pilot behavior, such as Atlas astounding growth,

            increased complexity from readily available data;

        5. Dr. Lee never directly related change in pilot behavior to operational impacts he

            asserts were caused by it.




  Did pilot behavior change Atlas’s operations as Dr. Lee asserts, or did the change in Atlas’s

  operations change pilot behavior? Instead of investigating the potential impact of Atlas


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operation on its pilots, Dr. Lee appears to force fit pilot behavioral data and his analysis to

endorse his client’s claim that the only explanation for alleged impactful operational changes

were changes in Atlas pilot behavior orchestrated by their Union to gain leverage in contract

negotiations. This was asserted repeatedly throughout Dr. Lee’s declaration without the

support of valid analytical evidence to connect the two. His binomial trial analysis of changes

in pilot behavior over time are biased and unreliable due to the rapidly changing conditions

at Atlas. His regression results generally suffer from low explanatory power or otherwise

suffer from being over- specified, rendering results unreliable.


There are several other instances in his declaration which highlight the biased nature of his

analysis. For example, Dr. Lee ignored obvious changes in pilot behavior which did not meet

his narrative as with the increases in pilot fatigue and short-notice sick calls that were

occurring well before the February 2016 Section 6 date. When events did not meet his time

line for statistical analysis after the post Section 6 date, he segmented them into two

separate and distinct periods, as in his analysis of extended delays. Most disturbing, he

made up the term and analysis relating to pilot willingness to depart when “loaded and

ready”, and clams that Atlas flights that depart at or before their estimated departure time

should be considered delayed.


Dr. Lee never attempts to investigate potential other causes of pilot behavior or relate it to

the change in Atlas’s operation over time. With all the data related to pilot behavior in Dr.

Lee’s possession, he did not attempt to connect the behavioral data with operational data

to perhaps better understand either the impact of changes in Atlas operation as a potential

cause of changes in pilot behavior, or the relationship of specific changes in pilot behavior

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on actual Atlas arrival delays.   If Dr. Lee was trying to link pilot behavior to operational

change it would seem obvious to include in his analysis a direct examination of the two

issues.


As the foregoing analysis strongly indicates, the tremendous growth in Atlas’s operation has

a had a significant and logical impact pilot behavior. Dr. Lee ignores this logical and factual

connection.    Instead, what Dr. Lee has undertaken in his Declaration is an attempt to use

statistics and data to support his client’s assertions that the pilot’s Union has orchestrated

pilot behavioral change and that such change has impactful change in Atlas’s operation.

Despite his efforts, Dr. Lee has proven neither.




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VI. APPENDIX A: CURRICULUM VITAE OF DANIEL W. AKINS


DANIEL W. AKINS

FLIGHTPATH ECONOMICS LLC, 2013 - Present

Founding Partner of consulting firm created to address pilot supply issues. Projects Include:

   •   Lobbying Advocate in U.S Congress for mitigation of impacts due to issues related to
       inadequate production of U.S. commercial pilots
   •   Strategic Advisor to support operating plan of new Part 141 fight school
   •   Marketing Advisor to owner of a large flight academy seeking strategic investment
       partner
   •   Advisor to Horizon Air pilots during contract negotiations
   •   Market Analyst for Part 135 start-up airline in Pacific Northwest
   •   Expert Witness of pilot scheduling practices in arbitration involving Kalitta Air
   •   Financial Advisor to IBT Local 1224 pilot negotiations
   •   Advisor to NetJets pilot negotiating committee


AKINS & ASSOCIATES, 1997 - Present

Provide economic consulting services and data analysis for airlines, airports, labor, and related
concerns. Projects include:

   •   Expert Witness in patent case for Cisco Systems, Inc. regarding Int’l trade flows
   •   Advisor to AFA, IBT, TWU and other labor groups in ongoing contract negotiations
   •   Financial Advisor to Republic Airways UCC during Chapter 11 Proceedings
   •   Expert Witness in seniority list integration of pilots at American/USAirways,
       United/Continental, Delta/Northwest, USAirways/America West
   •   Advisor to APFA on AMR Unsecured Creditors Committee
   •   Financial Advisor in Restructuring of Global Aviation Bankruptcy
   •   Financial Advisor in Pinnacle Chapter 11 Bankruptcy Proceedings
   •   Advisor to SWA pilots in integration with Airtran pilots
   •   Financial Advisor to Sun Country Unsecured Creditors Committee
   •   Ongoing Support for Southwest Airlines in Employees Contract Negotiations
   •   In US-Mexico Combination Service Proceeding before the US DOT provide analytical
       support for USA 3000 Airlines in their bid for new service.
   •   Guest lecturer Northwestern University, Kellogg Graduate School of Business.


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   •   Economic analyst and expert witness in Bankruptcy proceedings of US Airways, Mesaba,
       Northwest, United, Hawaiian, and Aloha.
   •   For US Postal Service determined pilot pay rates and back-pay at termination of USPS
       domestic Eagle overnight cargo delivery network.
   •   On behalf of Southern Air Transport prepared an economic analysis in support of their
       application at U.S. DOT for all-cargo service between the US and Argentina.
   •   Evaluation of transfer of overnight transport of express mail to FedEx for USPS.
   •   On Behalf of Air Canada and ACPA testified before the Canada Industrial Relations Board
       regarding the potential impact of merging pilot seniority at Air Canada and its commuter
       affiliates.
   •   For Boeing Aircraft Company evaluation of global availability of short-field airports to
       support potential commercialization C17 cargo aircraft.
   •   On behalf of Continental Express testified before U.S. District Court (Ft. Worth) regarding
       the impact of expanded operations at Dallas Love Field.



AIRTRANS, INC. 1993 - 1997

Vice President. Projects included:

   •   Prepared written economic testimony before the U.S. DOT supporting the successful bid
       of American International Airways to begin air cargo service between the U.S. and Brazil
   •   Air Cargo forecast and analysis on behalf of the Nashville Airports Authority
   •   For the State of Virginia evaluated competitive position of the Commonwealth's
       commercial airports and formulated proposals to address deficiencies in service.
   •   Analytical support for McDonnell-Douglas Corporation regarding the commercial viability
       of converting military cargo aircraft (C-17) to civilian freight service.
   •   Composed model of international traffic synergy potential for Lufthansa German Airways
       and Davis Companies in support of their joint bid for Continental Airlines.


YIELD DATA SERVICES, INC. 1989 - 1993

Vice President, Founding Partner in airline consultancy and on-line aviation data vending firm
Projects included:

   •   Testimony in U.S. District Court concerning valuation of pilot compensation at several
       Major Airlines.
   •   Testified as principal economist in interest arbitration of United Airlines and Pan Am
       pilots regarding the purchase of London Heathrow Airport operations.
   •   Analysis of airline traffic and capacity share for Northwest Airlines in U.S. markets.


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   •   Econometric forecast of passenger & cargo traffic for Nantes, Pays de Loire, France.
   •   Worldwide air cargo market forecast for World Airways.
   •   Forecast near-term air cargo trade between the U.S. and several South American
       countries for U.S.-Brazil route case proceeding before the U.S. DOT.
   •   Forecast of airline labor costs for Touche, Ross & Co.
   •   Testimony in interest arbitration of Alaska Airlines - Jet America pilot integration.
   •   Market fare analysis on behalf of Air Transport Association for congressional testimony.


KURTH & COMPANY, INC. 1986 - 1988

Manager of Aviation Research - Marketing and management consultant to air carriers and
airports. Projects included:

   •   Analysis of fleet purchasing history at Delta Airlines.
   •   Prepared traffic and financial exhibits in support of pilot integration proceedings of
       Northwest-Republic, USAir-Piedmont, Delta-Western, and Continental-Frontier.
   •   Testified before Postal Rate Commission on cost attribution of Third and Four Mail.


AIRLINE PILOTS ASSOCIATION 1984 - 1986

Senior Economist. Provided technical assistance and policy analysis on economic, financial, and
operational aspects of air transport industry for pilot organization. Projects included:

   •   Forecasting traffic and capacity to estimate economic performance and labor
       requirements at various airlines.
   •   Industry expert at U.S. Department of Transportation in cases regarding the
       employment effects of deregulation of U.S. airlines.
   •   Analysis of effects of two-tier wage structures on operating costs and competition.


R.L BANKS & ASSOCIATES, INC. 1983 - 1984

Transport Economist. Served in consulting capacity for corporate and public clients for economic
evaluation of maritime, road, rail, and air transportation projects. Involved in all phases of
consulting, from development to project evaluation and completion. Applied economic theory
and econometric techniques to evaluate problems in the movement of both passengers and
freight. Projects included:

   •   Economic analysis of rail-road-waterway competition to evaluate effects of selling the
       nation's largest barge line to a large railroad.
   •   Evaluation of containerized shipping through all Atlantic ports in Canada and U.S.


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   •    Econometric investigation concerning retirement rates of fixed rail investments.
   •    Analysis of volume of freight interchanged between Conrail and the seven largest U.S.
        Railroads.


EDUCATION

1982-1983       London School of Economics, Postgraduate Diploma in Economics.
                Mark of Merit Honors. Specialized in transport economics, econometric modeling
                and forecasting. Conducted an analysis of the need, siting and timing of a third
                major airport in London. Studied road congestion externalities, public transit
                operation, urban transport planning and investment policy.

1977-1981       Gustavus Adolphus College, BA Economics – Cum Laude Honors
                Majored in economics and planning. Undertook on-site analysis of relationship
                between urban growth patterns and highway development.

1980            Institute of European Studies
                Studied European monetary relations and industrial organization at London
                School of Economics

EXPERT WITNESS EXPERIENCE
Mr. Akins has been qualified as an Expert Witness in Airline Economics, Network Planning,
Contract Analysis, Industry Structure, Econometrics and Forecasting, and has submitted written
and/or oral testimony before the following Courts and Commissions:

       • US Department of Transportation
       • US District Court of Southern New York
       • US District Court of Washington D.C.
       • US District Court of North Texas
       • US Bankruptcy Court for the District of Southern New York
       • US Bankruptcy Court for the District of Northern Virginia
       • US Bankruptcy Court for the District of Minnesota
       • US Bankruptcy Court for the District of Hawaii
       • US Postal Rate Commission
       • Canadian Industrial Relations Board
       • Texas Water Board
       • Several Interest Arbitrations




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VII. APPENDIX B: BIBLIOGRAPHY


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  6. California State University, Long Beach (web.csulb.edu)

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VIII. APPENDIX C: PILOT SUPPLY REFERENCE MATERIAL


   1. Airlines face major pilot shortage Atlanta Business Chronicle (Georgia), November 12, 2012
      Monday, (205 words), Carla Caldwell

   2. U.S. airlines facing shortage of pilots Jacksonville Business Journal, November 12, 2012 Monday,
      (232 words), Michael Clinton

   3. Fewer student pilots, more strict requirements could lead to a pilot shortage The Citizens' Voice
      (Wilkes-Barre, Pennsylvania), December 10, 2012 Monday, STATE AND REGIONAL NEWS, (781
      words), Michael Iorfino, The Citizens' Voice, Wilkes-Barre, Pa.

   4. Airlines Fear Pilot Shortage Amid New Federal Safety Rules NPR All Things Considered,
      December 26, 2012 Wednesday, (622 words)

   5. Pilot shortage is imminent AirGuideBusiness.com, January 06, 2014, Business & Industry News,
      (142 words)

   6. U.S. airlines facing pilot shortage The Philadelphia Inquirer, February 2, 2014 Sunday, BUSINESS;
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   7. Pilot shortage hitting airlines sooner than expected Wichita Business Journal, February 4, 2014
      Tuesday, (118 words), Staff

   8. Airline Professionals Association Teamsters Local 1224 and Silver Airways Partner to Begin
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      Airline Growth Business Wire, February 6, 2014 Thursday 11:00 AM GMT, (1098 words)

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   11. U.S. airlines facing pilot shortage San Jose Mercury News (California), February 16, 2014
       Sunday, NEWS; Business, (853 words), By Linda Loyd Philadelphia Inquirer

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15. Pilot shortage would hurt regional airlines most Grand Forks Herald (includes Agweek) (North
    Dakota), December 25, 2014 Thursday, NEWS; Pg. B1, (669 words), Dave Olson; Forum News
    Service

16. ANALYSIS: That pilot shortage- will it prove to be another mirage? Flight Daily & Evening News,
    March 12, 2015, FLIGHTGLOBAL.COM, (2445 words)

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18. Pilot shortage spurs Republic flying cuts THE DALLAS MORNING NEWS, July 28, 2015 Tuesday,
    BUSINESS; Pg. BIZ_D02, (608 words), TERRY MAXON, Staff Writer tmaxon@dallasnews.com

19. Pilot shortage hits US regional airlines Agence France Presse -- English, March 6, 2016 Sunday
    2:35 AM GMT, (612 words)

20. How this local university will address U.S. pilot shortage Orlando Business Journal (Florida),
    March 11, 2016 Friday, (274 words), Matthew Richardson

21. Shortage of pilots attracts attention of industry Grand Forks Herald (North Dakota), May 7, 2016
    Saturday, BUSINESS AND FINANCIAL NEWS, (810 words), John Hageman, Grand Forks Herald

22. The front line of a pilot shortage; Unions and airlines cannot agree on the reason, but US
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